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12 Attorneys for GOOGLE LLC

13                                UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16   SONOS, INC.,                                   CASE NO. 3:21-cv-07559-WHA
                                                    Related to CASE NO. 3:20-cv-06754-WHA
17                  Plaintiff,
                                                    NOTICE OF APPEARANCE OF SEAN
18                                                  S. PAK
            vs.
19

20   GOOGLE LLC,
21                  Defendant.
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                                                                      Case No. 3:21-cv-07559-WHA
                                                         NOTICE OF APPEARANCE OF SEAN S. PAK
     Case 3:21-cv-07559-WHA         Document 230           Filed 03/24/23   Page 2 of 2




1          TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR ATTORNEYS

2 OF RECORD:

3          PLEASE TAKE NOTICE that pursuant to Local Civil Rule 5-1(c)(2), Sean S. Pak, an

4 attorney with the firm of Quinn Emanuel Urquhart & Sullivan, LLP admitted to practice before this

5 Court, hereby appears as an attorney of record for Google LLC in the above-captioned matter.
6 Copies of all pleadings, papers, correspondence, and electronic filing notices should be directed to:

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11 DATED: March 24, 2023                       QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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14                                              By          /s/ Sean S. Pak
                                                     Sean S. Pak
15                                                   Attorney for GOOGLE LLC
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                                                                NOTICE OF APPEARANCE OF SEAN S. PAK
